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 4
     Attorney for Defendant: ANTONIA MARTINEZ
 5
 6
 7
                       IN THE UNITED STATES DISTRICT COURT
 8
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                     )       Crim. S-07-234 LKK
11                                                 )
                                      Plaintiff,   )
12                                                 )
                         v.                        )     STIPULATION AND
13                                                 ) ORDER THEREON
     ANTONIA MARTINEZ,                             )
14                                                 )
                                 Defendant,        ) (Continuing Sentencing to 9/22/09)
15                                                 )
16          It is hereby stipulated between counsel for the government and the defendant that
17   the Sentencing hearing presently scheduled for August 4, 2009 may be continued to
18   September 22, 2009 at 19:15 a.m. The defendant is potentially eligible for favorable
19   treatment under the Safety Valve but has not yet been debriefed. The agent necessary for
20   the debriefing is unavailable until September
21          The defendant having entered a plea there are no issues regarding the Speedy Trial
22   Act.
23   Dated: July 30, 2009                                Dated: July 30, 2009
24
25   / s / Steven D. Bauer                               / s / Heiko Coppola
     STEVEN D. BAUER                                     HEIKO COPPOLA
26
     (Order on Following Page)
27
28   For Good Cause Appearing
     IT IS SO ORDERED
     Dated: July 31, 2009
